                Case 8:23-bk-01727-CPM           Doc 43   Filed 10/03/23     Page 1 of 19




                                  UNITED STATES BANKRUPTCY COURT
                                     MIDDLE DISTRICT OF FLORIDA
                                           TAMPA DIVISION

In re:
                                                                Case No. 8:23-bk-01727-CPM
Xavier Charles Washington, II,
                                                                Chapter 13
                        Debtor.
_____________________________________/

                            LESSOR SUNSET ELECTRIC’S OBJECTION TO
                               CONFIRMATION OF DEBTOR’S PLAN

           Lessor ASB Sunset Electric, LLC (“Sunset Electric”) objects to confirmation of the

proposed Chapter 13 plan of the debtor lessee Xavier Charles Washington, II (the “Debtor”),

and states:

           1.       The Debtor has received (and continues to receive) the benefit of possession of an

apartment in Seattle but has not paid the lessor Sunset Electric for that benefit.

           2.       As addressed below, the Debtor has not sought to assume or reject Sunset

Electric’s lease and has only made one postpetition payment on the lease, and the Debtor’s plan

does not provide for the assumption or rejection of the lease or for payment of the postpetition

amounts due. As such, the plan does not comply with the provisions of the Bankruptcy Code, as

required by Section1 1325(a)(1), and was not proposed in good faith, as required by Section

1325(a)(3). In addition, it does not appear that the Debtor is dedicating all disposable income to

the proposed Plan as required by Section 1325(b)(1)(B).

           3.       Sunset Electric requests that the Court deny confirmation unless the Debtor (a)

properly treats Sunset Electric by (i) either obtaining Court approval for the assumption of the

Lease (after paying the cure amount due and providing adequate assurance of future

performance) or (ii) rejecting the Lease (and surrendering the Premises and providing in rem stay

1
    Section references are to Title 11, U.S.C.

                                                    1
            Case 8:23-bk-01727-CPM          Doc 43    Filed 10/03/23      Page 2 of 19




relief) and (b) in the event of rejection making provision to pay for the postpetition rent due to

Sunset Electric as a priority claim.

                                        Brief Background

       4.      The Debtor commenced this bankruptcy case by filing a voluntary petition under

Chapter 13 of the Bankruptcy Code on April 28, 2023 (the “Petition Date”).

       5.      The docket reflects that this is the third Chapter 13 bankruptcy case commenced

by the Debtor in the past three years in this Court. The Debtor filed a petition on January 9, 2020,

but has his case dismissed for failure to make plan payments on July 1, 2021. The Debtor filed

another petition on January 31, 2022, but again had his case dismissed for failure to make plan

payments on February 3, 2023.

       6.      Sunset Electric is the lessor of the apartment where the Debtor presently resides at

1111 East Pine St., #6-603, Seattle, Washington, 98122 (the “Premises”) under an Apartment

Lease Contract dated May 21, 2020 (the “Lease”). The lease term ended on October 6, 2021, and

the tenancy then automatically reverted to a month to month tenancy. A true and correct copy of

the Lease (not including addenda) is attached as Exhibit A.

       7.      The Debtor is in default under the Lease but continues to live at the Premises. The

Debtor owes Sunset Electric (a) the sum of $20,626.20 through the Petition Date and (b) the sum

of $32,691.66 through October 1, 2023. A true and correct copy of the resident ledger through

October 1, 2023 (redacted where indicated) is attached as Exhibit B.

       8.      The Debtor’s operative plan is the Amended Chapter 13 Plan (ECF No. 40) (the

“Plan”), which was filed on August 7, 2023. The confirmation hearing on the Plan is set for

October 18, 2023, at 1:30 p.m. (ECF No. 24). The confirmation hearing was continued from

April 28, 2023.



                                                 2
                 Case 8:23-bk-01727-CPM              Doc 43       Filed 10/03/23        Page 3 of 19




           9.       By separate motion, Sunset Electric is (a) seeking to compel the Debtor to assume

or reject the Lease by the October 18, 2023 continued confirmation hearing or such additional

time soon after that date that is fixed by the Court and (b) seeking the allowance and payment of

an administrative expense claim in this case for the unpaid postpetition rent.

                                           Objection to Confirmation

           10.      Sunset Electric objects to the Plan because it does not comply with the provisions

of the Bankruptcy Code, as required by Section2 1325(a)(1), and was not proposed in good faith,

as required by Section 1325(a)(3), for the following reasons.

           11.      First, the Plan does not provide for payment of the past-due postpetition rent to

Sunset Electric. As discussed below, the Debtor must either seek to assume the Lease or reject it.

Section 1322(a)(2) requires that the Plan provide for the full payment, in deferred cash payments,

of all claims entitled to a priority under Section 507 unless the holder of a claim agrees to a

different treatment of the claim. Accordingly, Sunset Electric’s postpetition rent must either be

paid (as part of the cure payment if the Debtor seeks and is able to assume the Lease)3 or as an

allowed as an administrative expense pursuant to Section 503(b) entitled to priority under

Section 507(a)(2) (if the Debtor rejects the Lease). Sunset Electric should be permitted an

administrative expense claim for its postpetition rent because the Debtor uses the Premises for

his job in Seattle, which provides an actual, concrete benefit to the estate by permitting the

Debtor to work in Seattle and generate income to pay his creditors.

           12.      Second, the Plan has improperly treated Sunset Electric in the Plan by not

providing for the assumption (by curing and providing adequate of future performance of) the

Lease or providing for the rejection of the Lease.


2
    Section references are to Title 11, U.S.C.
3
    Sunset Electric has not yet decided whether it would oppose assumption of the Lease if soiught by the Debtor.

                                                           3
             Case 8:23-bk-01727-CPM         Doc 43      Filed 10/03/23     Page 4 of 19




       13.     The Debtor treats Sunset Electric in paragraph 5(i) of the Plan as having a secured

claim that is being paid via automatic debit/draft by the Debtor and will continue to be paid to

Sunset Electric. Despite this statement, the Debtor has only made one postpetition payment to

Sunset Electric (a payment on June 15, 2023 in the amount of $1,100.00, which is less than the

half of the monthly rent obligation).

       14.     The Debtor acknowledges that he has a lease with Sunset Electric. In Schedule G

(ECF No. 1), he lists “Sunset Electric Apartments” as having a “yearly lease for my job in

Seattle” with respect to the Premises; and in paragraph 5(i) of the Plan, he similarly lists the

property/collateral subject to Sunset Electric’s claim as a “month to month lease for my job in

Seattle.”

       15.     The Debtor should have treated Sunset Electric in section 6 of the Plan (Leases /

Executory Contracts) and made provision to either:

               a.      attempt to assume the Lease under Section 365(b) by curing the default

       and providing adequate assurance of future performance under either paragraph 6(a) of

       the Plan (which requires the Debtor to specify a prompt cure of the arrearage) or under

       section 6(b) of the Plan (which requires the Debtor to propose to pay direct and terminate

       the automatic stay terminated in rem) or

               b.      reject the Lease under paragraph 6(c) of the Plan, which requires the

       Debtor to surrender the leased property and terminate the automatic stay in rem.

       16.     The Debtor has accordingly not sought to assume or reject the Lease as required

by Section 365(d)(2) prior to plan confirmation. As noted above, by separate motion, Sunset

Electric is seeking to have the Debtor assume or reject the Lease no later than October 18, 2023

or such additional time soon after that date that is fixed by the Court.



                                                  4
             Case 8:23-bk-01727-CPM         Doc 43     Filed 10/03/23       Page 5 of 19




       17.     Third, it does not appear that the Debtor is dedicating all disposable income to

the proposed Plan as required by Section 1325(b)(1)(B).

       18.     Sunset Electric’s undersigned counsel has reached out to the Debtor’s counsel on

two occasions requesting a call to discuss this case and plan treatment. However, the undersigned

counsel has not yet received a response as of the date of this objection.

       WHEREFORE, for these reasons, Sunset Electric seeks the entry of an Order denying

confirmation of the Debtor’s Plan and for such other relief as is just and proper.

                                 CERTIFICATE OF SERVICE

       I CERTIFY that a true and correct copy of this objection was furnished via transmission

of Notices of Electronic Filing on all counsel of record or pro se parties identified on the

CM/ECF service list maintained by the Court in this case.

       Dated: October 3, 2023                         LESSNE LAW
                                                      Counsel for Sunset Electric
                                                      100 SE 3rd Avenue, 10th Floor
                                                      Fort Lauderdale, FL 33394
                                                      Tel: 954-372-5759;
                                                      E-mail: michael@lessne.law

                                                      By: /s/ Michael D. Lessne
                                                      Michael D. Lessne
                                                      Florida Bar No. 73881




                                                 5
Case 8:23-bk-01727-CPM   Doc 43   Filed 10/03/23   Page 6 of 19



                         EXHIBIT A
Case 8:23-bk-01727-CPM   Doc 43   Filed 10/03/23   Page 7 of 19
Case 8:23-bk-01727-CPM   Doc 43   Filed 10/03/23   Page 8 of 19
Case 8:23-bk-01727-CPM   Doc 43   Filed 10/03/23   Page 9 of 19
Case 8:23-bk-01727-CPM   Doc 43   Filed 10/03/23   Page 10 of 19
Case 8:23-bk-01727-CPM   Doc 43   Filed 10/03/23   Page 11 of 19
Case 8:23-bk-01727-CPM   Doc 43   Filed 10/03/23   Page 12 of 19
Case 8:23-bk-01727-CPM   Doc 43   Filed 10/03/23   Page 13 of 19
Case 8:23-bk-01727-CPM   Doc 43   Filed 10/03/23   Page 14 of 19
Case 8:23-bk-01727-CPM   Doc 43   Filed 10/03/23   Page 15 of 19
Case 8:23-bk-01727-CPM   Doc 43   Filed 10/03/23   Page 16 of 19



                         EXHIBIT B
                    Case 8:23-bk-01727-CPM                Doc 43       Filed 10/03/23         Page 17 of 19
Resident Ledger




Date: 09/28/2023

Code        REDACTED                                 Property        pn10649        Lease From        10/07/2021
Name        Xavier Washington                        Unit            603            Lease To          10/06/2022
Address     1111 East Pine St., Apt. 603             Status          Current        Move In           08/07/2019
                                                     Rent            2215.00        Move Out
City        Seattle, WA 98122                        Phone (H)                      Phone (W)         REDACTED

   Date    Chg Code                                 Description                            Charge Payment Balance Chg/Rec
08/07/2019     sdep Security Deposit on Hand at Conversion                                  300.00             300.00 21732026
08/07/2019                                                                                            300.00     0.00 7308533
03/01/2022      rele ELEC/RESIDENT - Balance Due at Conversion                              231.68             231.68 21731733
03/01/2022      rgas GAS/RESIDENT - Balance Due at Conversion                                  0.48            232.16 21731759
03/01/2022       rtra TRASH - Balance Due at Conversion                                        7.07            239.23 21731832
03/01/2022      utsf UTILITYADMIN - Balance Due at Conversion                                  3.95            243.18 21731861
03/01/2022     rwat WATER/RESIDENT - Balance Due at Conversion                              107.75             350.93 21731888
04/01/2022      rent Rent (04/2022)                                                       2,215.00           2,565.93 21732156
04/01/2022      prkg Parking (04/2022)                                                      275.00           2,840.93 21732217
04/01/2022      rgas Gas Charges 02/01/22 - 02/28/22                                           0.42          2,841.35 21732694
04/01/2022      utsf Utility Service Fee 02/01/22 - 02/28/22                                   3.95          2,845.30 21732788
04/01/2022       rtra Trash Charges 02/01/22 - 02/28/22                                        7.07          2,852.37 21732872
04/01/2022     rwat Water Charges 02/01/22 - 02/28/22                                         19.75          2,872.12 21732951
04/01/2022     rsew Sewer Charges 02/01/22 - 02/28/22                                         85.99          2,958.11 21733031
04/29/2022            chk# 135655653 Debit Card On-Line Payment ; Web - Resident Services           2,215.00   743.11 7432570
05/01/2022      utsf Other Reimbursed Costs - 02/28/22-03/24/22                                3.95            747.06 22026704
05/01/2022      rgas Reimbursed Gas - 02/28/22-03/24/22                                        0.43            747.49 22026705
05/01/2022     rsew Reimbursed Sewer - 02/28/22-03/24/22                                      54.27            801.76 22026706
05/01/2022       rtra Reimbursed Trash - 02/28/22-03/24/22                                     7.07            808.83 22026707
05/01/2022     rwat Reimbursed Water - 02/28/22-03/24/22                                      51.46            860.29 22026708
05/01/2022      rent Rent (05/2022)                                                       2,215.00           3,075.29 22281300
05/01/2022      prkg Parking (05/2022)                                                      275.00           3,350.29 22281301
05/20/2022            chk# 138876072 Debit Card On-Line Payment ; Web - Resident Services           1,200.00 2,150.29 7551471
05/27/2022            chk# 139339970 Debit Card On-Line Payment ; Web - Resident Services           1,015.00 1,135.29 7588791
06/01/2022      utsf Other Reimbursed Costs - 03/24/22-04/18/22                                3.95          1,139.24 22463526
06/01/2022      rgas Reimbursed Gas - 03/24/22-04/18/22                                        0.43          1,139.67 22463527
06/01/2022     rsew Reimbursed Sewer - 03/24/22-04/18/22                                      36.68          1,176.35 22463529
06/01/2022       rtra Reimbursed Trash - 03/24/22-04/18/22                                     7.07          1,183.42 22463531
06/01/2022     rwat Reimbursed Water - 03/24/22-04/18/22                                      45.56          1,228.98 22463533
06/01/2022      rent Rent (06/2022)                                                       2,215.00           3,443.98 22798413
06/01/2022      prkg Parking (06/2022)                                                      275.00           3,718.98 22798414
06/28/2022            chk# 143312595 Debit Card On-Line Payment ; Web - Resident Services           2,597.18 1,121.80 7756310
07/01/2022      utsf Other Reimbursed Costs - 04/18/22-05/15/22                                3.95          1,125.75 22953055
07/01/2022      rgas Reimbursed Gas - 04/18/22-05/15/22                                        0.42          1,126.17 22953059
07/01/2022     rsew Reimbursed Sewer - 04/18/22-05/15/22                                      31.19          1,157.36 22953066
07/01/2022       rtra Reimbursed Trash - 04/18/22-05/15/22                                     7.07          1,164.43 22953070
07/01/2022     rwat Reimbursed Water - 04/18/22-05/15/22                                      43.71          1,208.14 22953075
07/01/2022      rent Rent (07/2022)                                                       2,215.00           3,423.14 23322002
07/01/2022      garr Garage Rental (07/2022)                                                275.00           3,698.14 23322003
08/01/2022      utsf Other Reimbursed Costs - 05/15/22-06/15/22                                3.95          3,702.09 23548975
08/01/2022      rgas Reimbursed Gas - 05/15/22-06/15/22                                        0.53          3,702.62 23548977
08/01/2022    trsew Reimbursed Sewer - 05/15/22-06/15/22                                      52.42          3,755.04 23548980
08/01/2022       rtra Reimbursed Trash - 05/15/22-06/15/22                                    10.01          3,765.05 23548981
08/01/2022     rwat Reimbursed Water - 05/15/22-06/15/22                                      50.84          3,815.89 23548985
08/01/2022    trsew Reimbursed Sewer - 05/15/22-06/15/22                                    (52.42)          3,763.47 23703954
08/01/2022     rsew Reimbursed Sewer - 05/15/22-06/15/22                                      52.42          3,815.89 23724208

                                                                                                                                 1/3
08/01/2022   rsew Reimbursed Sewer - 05/15/22-06/15/22                                     52.42           3,815.89 23724208
08/01/2022    rentCase    8:23-bk-01727-CPM Doc 43 Filed 10/03/23
                    Rent (08/2022)                                                             Page 18 of6,030.89
                                                                                        2,215.00             19 23858049
08/01/2022    garr Garage Rental (08/2022)                                                275.00           6,305.89 23858050
08/19/2022          chk# 150774932 Debit Card On-Line Payment ; Web - Resident Services          2,215.00 4,090.89 8063528
09/01/2022    utsf Other Reimbursed Costs - 06/15/22-07/15/22                               3.95           4,094.84 24073243
09/01/2022    rgas Reimbursed Gas - 06/15/22-07/15/22                                       0.47           4,095.31 24073245
09/01/2022   rsew Reimbursed Sewer - 06/15/22-07/15/22                                     16.74           4,112.05 24073247
09/01/2022     rtra Reimbursed Trash - 06/15/22-07/15/22                                    9.84           4,121.89 24073249
09/01/2022   rwat Reimbursed Water - 06/15/22-07/15/22                                     40.17           4,162.06 24073251
09/01/2022    rent Rent (09/2022)                                                       2,215.00           6,377.06 24338572
09/01/2022    garr Garage Rental (09/2022)                                                275.00           6,652.06 24338573
09/17/2022          chk# 154685577 Debit Card On-Line Payment ; Web - Resident Services          2,215.00 4,437.06 8209123
10/01/2022    utsf Other Reimbursed Costs - 07/15/22-08/15/22                               3.95           4,441.01 24527351
10/01/2022    utsf Other Reimbursed Costs - 04/12/22-06/09/22                              25.00           4,466.01 24527356
10/01/2022    rgas Reimbursed Gas - 07/15/22-08/15/22                                       0.48           4,466.49 24527358
10/01/2022   rsew Reimbursed Sewer - 07/15/22-08/15/22                                     14.62           4,481.11 24527361
10/01/2022     rtra Reimbursed Trash - 07/15/22-08/15/22                                    9.90           4,491.01 24527364
10/01/2022   rwat Reimbursed Water - 07/15/22-08/15/22                                     39.30           4,530.31 24527367
10/01/2022    rele Vacant Electric - 04/12/22-06/09/22                                     76.21           4,606.52 24527370
10/01/2022    rent Rent (10/2022)                                                       2,215.00           6,821.52 24841490
10/01/2022    garr Garage Rental (10/2022)                                                275.00           7,096.52 24841928
11/01/2022    utsf Other Reimbursed Costs - 08/15/22-09/15/22                               3.95           7,100.47 25095074
11/01/2022    rgas Reimbursed Gas - 08/15/22-09/15/22                                       0.42           7,100.89 25095077
11/01/2022   rsew Reimbursed Sewer - 08/15/22-09/15/22                                     56.91           7,157.80 25095080
11/01/2022     rtra Reimbursed Trash - 08/15/22-09/15/22                                    9.77           7,167.57 25095083
11/01/2022   rwat Reimbursed Water - 08/15/22-09/15/22                                     57.45           7,225.02 25095086
11/01/2022    rent Rent (11/2022)                                                       2,215.00           9,440.02 25319207
11/01/2022    garr Garage Rental (11/2022)                                                275.00           9,715.02 25319208
12/01/2022    utsf Other Reimbursed Costs - 09/15/22-10/15/22                               3.95           9,718.97 25602911
12/01/2022    rgas Reimbursed Gas - 09/15/22-10/15/22                                       0.42           9,719.39 25602916
12/01/2022   rsew Reimbursed Sewer - 09/15/22-10/15/22                                     80.50           9,799.89 25602920
12/01/2022     rtra Reimbursed Trash - 09/15/22-10/15/22                                   10.28           9,810.17 25602924
12/01/2022   rwat Reimbursed Water - 09/15/22-10/15/22                                     67.48           9,877.65 25602929
12/01/2022    rent Rent (12/2022)                                                       2,215.00          12,092.65 25838391
12/01/2022    garr Garage Rental (12/2022)                                                275.00          12,367.65 25838392
01/01/2023    utsf Other Reimbursed Costs - 10/15/22-11/15/22                               3.95          12,371.60 26100341
01/01/2023    rgas Reimbursed Gas - 10/15/22-11/15/22                                       0.36          12,371.96 26100343
01/01/2023   rsew Reimbursed Sewer - 10/15/22-11/15/22                                     77.10          12,449.06 26100347
01/01/2023     rtra Reimbursed Trash - 10/15/22-11/15/22                                   10.12          12,459.18 26100352
01/01/2023   rwat Reimbursed Water - 10/15/22-11/15/22                                     60.23          12,519.41 26100355
01/01/2023    garr Garage Rental (01/2023)                                                275.00          12,794.41 26326469
01/01/2023    rent Rent (01/2023)                                                       2,215.00          15,009.41 26336439
02/01/2023    utsf Other Reimbursed Costs - 11/15/22-12/15/22                               3.95          15,013.36 26526536
02/01/2023    rgas Reimbursed Gas - 11/15/22-12/15/22                                       0.38          15,013.74 26526537
02/01/2023   rsew Reimbursed Sewer - 11/15/22-12/15/22                                     53.98          15,067.72 26526538
02/01/2023     rtra Reimbursed Trash - 11/15/22-12/15/22                                   14.12          15,081.84 26526539
02/01/2023   rwat Reimbursed Water - 11/15/22-12/15/22                                     52.14          15,133.98 26526540
02/01/2023    rent Rent (02/2023)                                                       2,215.00          17,348.98 26795542
02/01/2023    garr Garage Rental (02/2023)                                                275.00          17,623.98 26795836
03/01/2023    utsf Other Reimbursed Costs - 12/15/22-01/15/23                               3.95          17,627.93 27091155
03/01/2023    rgas Reimbursed Gas - 12/15/22-01/15/23                                       0.37          17,628.30 27091159
03/01/2023   rsew Reimbursed Sewer - 12/15/22-01/15/23                                     52.40          17,680.70 27091165
03/01/2023     rtra Reimbursed Trash - 12/15/22-01/15/23                                   13.63          17,694.33 27091169
03/01/2023   rwat Reimbursed Water - 12/15/22-01/15/23                                     51.59          17,745.92 27091172
03/01/2023    rent Rent (03/2023)                                                       2,215.00          19,960.92 27326285
03/01/2023    garr Garage Rental (03/2023)                                                275.00          20,235.92 27326549
04/01/2023    utsf Other Reimbursed Costs - 01/15/23-02/15/23                               3.95          20,239.87 27562222
04/01/2023    rgas Reimbursed Gas - 01/15/23-02/15/23                                       0.42          20,240.29 27562223
04/01/2023   rsew Reimbursed Sewer - 01/15/23-02/15/23                                     45.00          20,285.29 27562225
04/01/2023     rtra Reimbursed Trash - 01/15/23-02/15/23                                   17.21          20,302.50 27562227
04/01/2023   rwat Reimbursed Water - 01/15/23-02/15/23                                     48.70          20,351.20 27562228
04/01/2023    garr Garage Rental (04/2023)                                                275.00          20,626.20 27849434
04/01/2023    rent Rent (04/2023)                                                       2,215.00          22,841.20 27857343
                                                                                                                               2/3
04/01/2023    rent Rent (04/2023)                                                       2,215.00          22,841.20 27857343
04/05/2023         Case   8:23-bk-01727-CPM
                    chk# 181331102                       Doc; Web
                                   Debit Card On-Line Payment   43 - Resident
                                                                       Filed Services
                                                                               10/03/23 Page          19 of
                                                                                                 2,215.00    19
                                                                                                          20,626.20  9290645
05/01/2023    utsf Other Reimbursed Costs - 02/15/23-03/15/23                               3.95          20,630.15 28122354
05/01/2023    rgas Reimbursed Gas - 02/15/23-03/15/23                                       0.42          20,630.57 28122356
05/01/2023   rsew Reimbursed Sewer - 02/15/23-03/15/23                                     54.67          20,685.24 28122357
05/01/2023     rtra Reimbursed Trash - 02/15/23-03/15/23                                   17.03          20,702.27 28122360
05/01/2023   rwat Reimbursed Water - 02/15/23-03/15/23                                     52.02          20,754.29 28122362
05/01/2023    rent Rent (05/2023)                                                       2,215.00          22,969.29 28363696
05/01/2023    garr Garage Rental (05/2023)                                                275.00          23,244.29 28363830
06/01/2023    utsf Other Reimbursed Costs - 03/15/23-04/15/23                               3.95          23,248.24 28666016
06/01/2023    rgas Reimbursed Gas - 03/15/23-04/15/23                                       0.43          23,248.67 28666020
06/01/2023   rsew Reimbursed Sewer - 03/15/23-04/15/23                                     53.54          23,302.21 28666023
06/01/2023     rtra Reimbursed Trash - 03/15/23-04/15/23                                   10.16          23,312.37 28666025
06/01/2023   rwat Reimbursed Water - 03/15/23-04/15/23                                     51.50          23,363.87 28666028
06/01/2023    rent Rent (06/2023)                                                       2,215.00          25,578.87 28894298
06/01/2023    garr Garage Rental (06/2023)                                                275.00          25,853.87 28894396
06/15/2023          chk# 191033777 Debit Card On-Line Payment ; Web - Resident Services          1,100.00 24,753.87 9661836
07/01/2023    utsf Other Reimbursed Costs - 04/15/23-05/15/23                               3.95          24,757.82 29203452
07/01/2023    rgas Reimbursed Gas - 04/15/23-05/15/23                                       0.52          24,758.34 29203471
07/01/2023   rsew Reimbursed Sewer - 04/15/23-05/15/23                                     96.27          24,854.61 29203483
07/01/2023     rtra Reimbursed Trash - 04/15/23-05/15/23                                   10.69          24,865.30 29203486
07/01/2023   rwat Reimbursed Water - 04/15/23-05/15/23                                     21.48          24,886.78 29203489
07/01/2023    rent Rent (07/2023)                                                       2,215.00          27,101.78 29454663
07/01/2023    garr Garage Rental (07/2023)                                                275.00          27,376.78 29454664
08/01/2023    utsf Other Reimbursed Costs - 05/15/23-06/15/23                               3.95          27,380.73 29764226
08/01/2023    rgas Reimbursed Gas - 05/15/23-06/15/23                                       0.60          27,381.33 29764230
08/01/2023   rsew Reimbursed Sewer - 05/15/23-06/15/23                                     70.70          27,452.03 29764233
08/01/2023     rtra Reimbursed Trash - 05/15/23-06/15/23                                   15.07          27,467.10 29764237
08/01/2023   rwat Reimbursed Water - 05/15/23-06/15/23                                     13.10          27,480.20 29764240
08/01/2023    garr Garage Rental (08/2023)                                                275.00          27,755.20 30026813
08/01/2023    rent Rent (08/2023)                                                       2,215.00          29,970.20 30026814
09/01/2023    utsf Other Reimbursed Costs - 06/15/23-07/15/23                               3.95          29,974.15 30332542
09/01/2023    rgas Reimbursed Gas - 06/15/23-07/15/23                                       0.64          29,974.79 30332544
09/01/2023   rsew Reimbursed Sewer - 06/15/23-07/15/23                                     83.62          30,058.41 30332546
09/01/2023     rtra Reimbursed Trash - 06/15/23-07/15/23                                   15.26          30,073.67 30332548
09/01/2023   rwat Reimbursed Water - 06/15/23-07/15/23                                     17.61          30,091.28 30332549
09/01/2023    rent Rent (09/2023)                                                       2,215.00          32,306.28 30630116
09/01/2023    garr Garage Rental (09/2023)                                                275.00          32,581.28 30630117
10/01/2023    utsf Other Reimbursed Costs - 07/15/23-08/15/23                               3.95          32,585.23 30871148
10/01/2023    rgas Reimbursed Gas - 07/15/23-08/15/23                                       0.50          32,585.73 30871149
10/01/2023   rsew Reimbursed Sewer - 07/15/23-08/15/23                                     77.24          32,662.97 30871150
10/01/2023     rtra Reimbursed Trash - 07/15/23-08/15/23                                   10.79          32,673.76 30871151
10/01/2023   rwat Reimbursed Water - 07/15/23-08/15/23                                     17.90          32,691.66 30871152




                                                                                                                               3/3
